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                                                                                            FILED
                                                                                         JUN 1 8 2025
                                                                                    CLERK U.S. DISTRICT cour-n
                                                                                    NORTHERN DISTRICT OF OHIO
                                                                                           Cl F\/FI A!\lf)
                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 UNITED STATES OF AMERICA,                             )   INFORMATION
                                                       )
                   Plaintiff,                          )
                                                       )
        V.                                             )   CASE NO.      S ~ 2 5 MJ O8 oo4
                                                       )              Title 18, United States Code,
 KENDRA BARKSDALE,                                     )              Section 641
                                                       )
                   Defendant.                          )
                                                                            MAG JUDGE KNAPP
                                               COUNTS 1-3

                                (Theft of Government Funds, 18 U.S.C. § 641)

The United States Attorney charges:

       1.      On or about each of the dates set forth below, in the Northern District of Ohio,

Eastern Division, and elsewhere, Defendant KENDRA BARKSDALE, in a continuing course of

conduct, knowingly and willfully embezzled, stole, purloined, and converted to her own use

money of the United States or any department or agency thereof to wit: Paycheck Protection

Program (PPP) arid Economic Injury Disaster Loan (EIDL) benefits obtained by fraud from the

Small Business Administration, each taking constituting a separate count of this Information:

             Count Approximate Date(s)             Description of Taking
                                                   An ACH transfer of approximately
               1        March 17, 2021
                                                   $19,445 in PPP loan benefits
                                                   An ACH transfer of approximately
               2        May 20, 2021
                                                   $20,510 in PPP loan benefits
                                                   An ACH transfer of approximately
               3        August 17, 2021
                                                   $8,800 in EIDL loan benefits
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All in violation of Title 18, United States Code, Sections 641.


                                              CAROL M. SKUTNIK
                                              Acting United States Attorney


                                      By:




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